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                          UNITED STATES DISTRICT COURT

                                DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA
                   Plaintiff,

       v.
                                                        Case No. 1:23-cr-00239
ILYA LICHTENSTEIN, and
HEATHER MORGAN                                           Judge Colleen Kollar-Kotelly
                     Defendants.



        [DEFENDANTS’ PROPOSED] ORDER GRANTING MOTION TO CONTINUE
        DEADLINES FOR DEFENSE TO FILE SENTENCING MEMORANDA


       The Court has reviewed Defendants’ motion requesting permission for Ms. Morgan to

file her Sentencing Memorandum on October 30, 2024, and Mr. Lichtenstein to file his

Sentencing Memorandum on November 5, 2024. Upon consideration of Defendants’ motion,

and with no objection from the Government, the Court hereby grants the motion.




IT IS SO ORDERED.

DATED: __________                                 _____________________________
                                                  United States District Judge
